                    Exhibit B
Consent of Defendant Payward Trading, Ltd. d/b/a Kraken
DocuSign Envelope ID: 81DB070D-BC68-4711-AD6D-7DC56CFD9216
DocuSign Envelope ID: 81DB070D-BC68-4711-AD6D-7DC56CFD9216
DocuSign Envelope ID: 81DB070D-BC68-4711-AD6D-7DC56CFD9216
DocuSign Envelope ID: 81DB070D-BC68-4711-AD6D-7DC56CFD9216
DocuSign Envelope ID: 81DB070D-BC68-4711-AD6D-7DC56CFD9216
DocuSign Envelope ID: 81DB070D-BC68-4711-AD6D-7DC56CFD9216
